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                         UNITED STATES DISTRICT COURT
 4                      CENTRAL DISTRICT OF CALIFORNIA
 5    SUSAN PETERSEN,
                                                  Case No. 8:21-cv-01051-JLS (JDEx)
 6                 Plaintiff,
            v.
 7                                                ORDER GRANTING JOINT
                                                  STIPULATION OF DISMISSAL
 8
      EXPERIAN INFORMATION                        (Doc. 18)
 9    SOLUTIONS, INC.
                Defendant.
10

11         Plaintiff Susan Petersen (“Plaintiff”) and Defendant Experian Information
12
     Solutions, Inc., (“Defendant”) having filed a Joint Stipulation of Dismissal With
13
     Prejudice, and after considering said stipulation,
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17   //

18         It is HEREBY ORDERED that this action is dismissed with prejudice, with
19
     each party to bear their own attorneys’ fees and costs.
20
           IT IS SO ORDERED.
21

22

23
     Date: October 21, 2021                 _________________________________
                                            HON. JOSEPHINE L. STATON
24                                          UNITED STATES DISTRICT JUDGE
